                     Case 2:25-cv-02261-AB                      Document 3-1           Filed 05/05/25         Page 1 of 1
Consent and Reference of a Civil Action to a Magistrate Judge (EDPA 06/22)



                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                          Eastern District of Pennsylvania

                                                            )
                        Plaintiff                           )
                           v.                               )    Civil Action No.
                                                            )
                      Defendant                             )



                                        CONSENT AND REFERENCE OF A CIVIL ACTION
                                       TO A RANDOMLY ASSIGNED MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States Court of Appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a randomly assigned magistrate judge, or you may withhold your
consent without adverse substantive consequences. The name of any party withholding consent will not be revealed to any
judge who may otherwise be involved with your case.

        Consent to a magistrate judge’s authority. The following parties consent to have a randomly assigned United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Printed names of parties and attorneys                                Signatures of parties or attorneys                    Dates




                                                                    Reference Order

       IT IS ORDERED: This case is referred to a randomly assigned United States magistrate judge to conduct all
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.




Date:
                                                                                        District Judge’s signature



                                                                                          Printed name and title


Note: Please file this form on CM/ECF, using the event located in the Other Documents category, only if you are
consenting to the exercise of jurisdiction by a United States magistrate judge. Do not return this form to a judge.
